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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                               CASE NO: 2:14-cr-79-FtM-38DNF

FERENC PALFALVI


                                        ORDER

         A sentencing hearing has been scheduled for January 26, 2014 at 10:00 A.M. in

Courtroom 5D. The sentencing hearing is scheduled for thirty (30) minutes. If any party

anticipates that more than thirty (30) minutes will be needed for the hearing, the party

shall advise the Courtroom Deputy Clerk within fourteen (14) days of the date of this

order.

         IT IS ORDERED that motions to depart or vary from the sentencing guidelines

must be made in writing. The motions to depart or vary from the sentencing guidelines

and sentencing memoranda, if any, must be filed not less than seven (7) days prior to the

sentencing date. Objections to the presentence report are not to be included in the

sentencing memoranda; objections must be submitted to the probation officer and

to opposing counsel as a separate document. See Rule 4.12(b), Local Rules of the

Middle District of Florida.

         IT IS FURTHER ORDERED that the parties shall inform the Court in writing, not

less than seven (7) days prior to the sentencing date, whether testimony is to be

presented at the hearing. Any party intending to present testimony shall, also not less

than seven (7) days prior to the sentencing date, file a statement containing the names

of the witnesses and the estimated length of such testimony. Except for good cause
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shown, the Court will not allow any testimony that is not disclosed in accordance with this

Order.

         DONE AND ORDERED at Fort Myers, Florida, this 30th day of October, 2014.




Copies: All Parties of Record




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